8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08   Page 1 of 7 - Page ID # 1215



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR294
                              )
          v.                  )
                              )
FRANCISCO ROBLES,             )             MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s timely

motion to vacate, set aside, or correct sentence by a person in

federal custody under 28 U.S.C. § 2255 (Filing No. 176).                The

Court is also in receipt of the government’s answer to the motion

(Filing No. 187), its index of evidentiary materials in support

of its answer (Filing No. 188), and its brief in support of its

answer (Filing No. 189).      For the reasons set forth herein, the

defendant’s motion will be denied.

                                BACKGROUND

           On July 20, 2005, a one-count indictment was filed in

the United States District Court for the District of Nebraska

naming Francisco Robles a/k/a Juan Valleo Cillo as a defendant.

The indictment charged Robles with conspiracy to distribute and

to possess with intent to distribute more than 500 grams of a

mixture or substance containing a detectable amount of

methamphetamine, its salts, isomers, and salts of its isomers, in

violation of Title 21, United States Code, Sections 841(a)(1),
8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08   Page 2 of 7 - Page ID # 1216



841(b)(1) and 846.      A superseding indictment was filed on May 15,

2006, charging Robles with conspiracy to distribute and possess

with intent to distribute less than 500 grams of methamphetamine

mixture, in violation of the aforementioned statutes, and

broadening the time period of the conspiracy to June 1, 2003,

through August 30, 2005.      Finally, a second superceding

indictment was filed on June 22, 2006, increasing the quantity of

drugs charged to more than 500 grams (Filing No. 74).

           Defendant proceeded to trial on June 26, 2006.               On June

29, 2006, the jury returned a verdict of guilty as to the

conspiracy charged in Count I of the second superseding

indictment and found Robles responsible for 500 grams or more of

a mixture or substance containing a detectable amount of

methamphetamine (See Filing No. 98).          A presentence investigation

report was prepared (Filing No. 137), and on October 13, 2006,

the Court sentenced Robles to 240 months imprisonment, five years

supervised release with special conditions, and a $100 special

assessment (See Filing No. 141).

           On direct appeal, Robles argued first that the evidence

presented at trial was insufficient to convict him because the

government’s cooperating witnesses were all lying, and second

that his sentence was unreasonable because he was a drug user and

not a drug dealer.      The United States Court of Appeals for the

Eighth Circuit affirmed defendant’s sentence on December 13,


                                    -2-
8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08   Page 3 of 7 - Page ID # 1217



2007.   On June 9, 2008, Robles filed this motion under 28 U.S.C.

§ 2255 to vacate, set aside or correct sentence (Filing No. 176).

This is Robles’s first petition pursuant to § 2255.               Robles then

filed a petition for writ of mandamus or injunction (See Case No.

8:08CV280, Filing No. 1), which was denied by the Court of

Appeals on October 24, 2008 (Case No. 8:08CV280, Filing No. 11).

Also pending are defendant’s motion to stay habeas proceeding

without prejudice (Filing No. 180), his motion for summary

judgment with memorandum and affirmation (Filing No. 191), and

his motion for status (Filing No. 197).           Robles’s motion for

summary judgment (Filing No. 191) contained no certificate of

service and due to his failure to correct this deficiency will be

stricken pursuant to NECrimR 49.5(c).

                                DISCUSSION

           Mr. Robles seeks relief under 28 U.S.C. § 2255,

claiming ineffective assistance of counsel.            “[F]ailure to raise

an ineffective-assistance-of-counsel claim on direct appeal does

not bar the claim from being brought in a later, appropriate

proceeding under § 2255.”      Massaro v. United States, 538 U.S.

500, 509 (2003).    Robles claims that his court appointed counsel,

John Velasquez, was ineffective at trial, at sentencing, and on

direct appeal.    He maintains Velasquez was ineffective because he

was incompetent, inattentive, and biased, failing to raise issues

such as this Court’s lack of impartiality (as evidenced by


                                    -3-
8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08   Page 4 of 7 - Page ID # 1218



Velasquez’s appointment), Velasquez’s conflict of interest (as

part of the “DOJ’s ‘prosecution ring’ (money game)”), and that

Robles had his punishment enhanced in retaliation for the

exercise of his right to a jury trial (because his sentence after

trial was greater than an earlier plea bargain offer by the

government).

           The United States Supreme Court has long recognized

that the Sixth Amendment right to counsel is necessary to protect

the fundamental right to a fair trial.           Strickland v. Washington,

466 U.S. 668, 684 (1984).      This right to counsel is “the right to

effective assistance of counsel.”         Id. at 686 (quoting McMann v.

Richardson, 397 U.S. 759, 771, n. 14 (1970)).             An ineffective

assistance of counsel claim has two components: (1) the defendant

must show that counsel’s performance was deficient; and (2) the

defendant must show that the deficient performance prejudiced the

defense.   Strickland, 466 U.S. at 687.

           To demonstrate prejudice, a defendant must show that

“counsel’s errors were so serious as to deprive the defendant of

a fair trial, a trial whose result is reliable.”              Id. at 687.

The Supreme Court has stated that “[i]t is not enough for the

defendant to show that the errors had some conceivable effect on

the outcome of the proceeding.”        Id. at 693.      Rather, the

defendant must show that “there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the


                                    -4-
8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08    Page 5 of 7 - Page ID # 1219



proceeding would have been different.          A reasonable probability

is a probability sufficient to undermine confidence in the

outcome.”    Id. at 694.    The Court must ask whether a reasonable

probability exists that absent the errors, the factfinder would

have a reasonable doubt respecting guilt, based upon the totality

of the evidence.    Id. at 695.

            Defendant fails to show deficient performance by

counsel with respect to any of the grounds in his motion.                 In

grounds one through three, Robles alleges that his counsel was

ineffective, that the judicial officials in his case were not

impartial, and that he was convicted under a presumption of

guilt.   However, he does not support any of these allegations

with evidence.    Bare allegations with no evidentiary support

would not create reasonable doubt in the mind of any factfinder.

Robles does provide evidence that his counsel may not have

responded to his requests for records in a timely manner.

However, these requests all took place after Robles’s trial,

sentencing, and direct appeal, and therefore even if the records

had been timely sent, the result of those proceedings would not

have been different.

            In ground four of his motion, defendant claims that

Velasquez was ineffective because he denied him his right to

direct appeal.    However, Robles did in fact receive a direct

appeal in which his sentence was affirmed by the United States

Court of Appeals for the Eighth Circuit.              See United States v.


                                    -5-
8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08   Page 6 of 7 - Page ID # 1220



Robles, 256 Fed. Appx. 880 (8th Cir. 2007).            In his fifth ground,

defendant suggests that Velasquez was ineffective because he

failed to raise on appeal that Robles had received enhanced

punishment in retaliation for his exercise of his right to a jury

trial.   There is evidence that before trial, the government

offered Robles a plea agreement allowing him to serve 90 months

imprisonment in exchange for his plea of guilty (See Filing No.

188, at ¶ 15).    However, Robles rejected the government’s offer.

A rejected offer such as this does not bind the Court to an upper

limit on sentencing, as defendant seems to suggest.               Rather, when

a plea is rejected, both “the defendant and the prosecutor are

placed in their respective pre-plea agreement positions.                They

may renegotiate a new agreement or proceed to trial.”               United

States v. McGovern, 822 F.2d 739, 744 (8th Cir. 1987).               Robles

proceeded to trial, and the jury found him guilty.              There is also

no evidence that the jury or the Court was aware that the

government made Robles any offer.         Thus, this argument lacks

merit.   It was not ineffective assistance of counsel for

Velasquez to fail to raise an issue on appeal that had no merit

because even if he had, the result of the proceeding would not

have been different.

           Finally, Robles argues that he was denied a fair jury

trial because Velasquez was “unqualified and unspecialized to

professionally defend against the unethical unlimited resources


                                    -6-
8:05-cr-00294-BCB-SMB   Doc # 198   Filed: 12/17/08   Page 7 of 7 - Page ID # 1221



employed by the department of just-us.”           Apart from attaching

several media articles critical of United States drug policy,

Robles provides no evidence to support this charge.               The Court

notes that Velasquez has “handled hundreds of federal criminal

drug defense cases, including numerous jury trials.”               (Velasquez

Aff. 3, Filing No. 188-2.)      Moreover, defense counsel’s conduct

is “presume[d] . . . to fall within the wide range of competence

demanded of attorneys under like circumstances . . . .”                Driscoll

v. Delo, 71 F.3d 701, 708-09 (8th Cir. 1995) (citing Strickland,

466 U.S. at 687-89).     Absent a factual basis for this charge,

which Robles does not provide, the Court cannot say either that

Velasquez’s conduct was deficient, or that if it was the result

of any of the proceedings against Robles would have been

different.

                               CONCLUSION

           For the foregoing reasons, the defendant’s § 2255

motion will be denied.      A separate order will be entered in

accordance with this memorandum opinion.

           DATED this 17th day of December, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




                                     -7-
